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JUDITH A. PHILIPS
Acting United States Attorney

District of Hawaii svete
UNITED STATES DISTRICT COURT

MICHAEL NAMMAR DISTRICT OF HAWAII
Chief, Criminal Division UL 20 2021
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, ) CR. NO. 21-00089 JMS
)
Plaintiff, ) MEMORANDUM OF PLEA
) AGREEMENT
vs. )
) DATE: July 20, 2021
ASIA JANAY LAVARELLO, ) TIME: 10:00 a.m.
) JUDGE: Hon. J. Michael Seabright
Defendant. )
)
)

 

MEMORANDUM OF PLEA AGREEMENT
Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the
UNITED STATES OF AMERICA, by its attorney, the Acting United States

Attorney for the District of Hawaii, and the defendant, ASIA JANAY
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LAVARELLO, and her attorney, Birney B. Bervar, Esq., have agreed upon the
following:
THE CHARGES

1. The defendant acknowledges that she has been charged in an
Information with violating Title 18, United States Code, Section 1924.

2. The defendant has read the charges against her contained in the
Information, and those charges have been fully explained to her by her attorney.

3. The defendant fully understands the nature and elements of the crime
with which she has been charged.

THE AGREEMENT

4. The defendant agrees to waive indictment and enter a voluntary plea
of guilty to the Information, which charges her with unauthorized removal and
retention of classified documents or material. The defendant is aware that she has
the right to have this felony asserted against her by way of grand jury indictment.
The defendant hereby waives this right and consents that this offense may be
charged against her by way of the Information. The defendant also consents to the
factual stipulations set forth in paragraph 9 and its subparagraphs. In addition, the
defendant waives certain of her rights to direct appeal and collateral attack as set

forth in paragraph 14 and its subparagraphs.
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5.  Inreturn, the government agrees not to charge the defendant with
additional violations related to the mishandling of classified documents or material
that are now known to the government. The government also agrees not to charge
the defendant with any false statements made on January 22, 2021, to agents of the
Federal Bureau of Investigation or to any other federal agent involved in this
investigation. The government further agrees to recommend that the defendant
receive credit for acceptance of responsibility as set forth in paragraph 11 and its
subparagraphs.

6. The defendant agrees that this Memorandum of Plea Agreement shall
be filed and become part of the record in this case.

7. The defendant enters this plea because she is in fact guilty of
unauthorized removal and retention of classified documents or material as charged
in the Information, and she agrees that this plea is voluntary and not the result of
force or threats.

PENALTIES

8. The defendant understands that the penalties for the offense to which
she is pleading guilty include:

a. A term of imprisonment of not more than 5 years and a fine of

up to $250,000, plus a term of supervised release of not more than 3 years.
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b. _—_ In addition, the Court must impose a $100 special assessment as
to each count to which the defendant is pleading guilty. The defendant agrees to
pay $100 for each count to which she is pleading guilty to the District Court’s
Clerk’s Office, to be credited to said special assessments, before the
commencement of any portion of sentencing. The defendant acknowledges that
failure to make such full advance payment in a form and manner acceptable to the
prosecution will allow, though not require, the prosecution to withdraw from this
Agreement at its option.

FACTUAL STIPULATIONS
9. The defendant admits the following facts and agrees that they are not
a detailed recitation, but merely an outline of what happened in relation to the
charge to which the defendant is pleading guilty:
Background

a. Executive Order 13526, signed by President Barack Obama on
December 29, 2009, provides a uniform system for classifying, safeguarding and
declassifying national security information. Executive Order 13526 categorizes
classified information into three general levels. Information may be classified as
“CONFIDENTIAL” if the unauthorized disclosure of the information “reasonably

could be expected to cause damage to the national security.” E.O. 13526

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1.2(a)(3). Information may be classified as “SECRET” if the unauthorized
disclosure of the information “reasonably could be expected to cause serious
damage to the national security.” E.O 13526 1.2(a)(2). Information may be
classified as “TOP SECRET” if the unauthorized disclosure of the information
“reasonably could be expected to cause exceptionally grave damage to the national
security.” E.O. 13526 1.2(a)(1).

b. 32 C.F.R. Parts 2001 and 2003 regulate the handling of
classified information. Specifically, 32 C.F.R. § 2001.43, titled “Storage,”
regulates the physical protection of classified information. This section provides
that “SECRET” and “TOP SECRET” information “shall be stored in a GSA-
approved security container, a vault built to Federal Standard (FHD STD) 832, or
an open storage area constructed in accordance with § 2001.53.” It also requires
periodic inspection of the container and the use of an Intrusion Detection System,
among other things.

Cc. ASIA JANAY LAVARELLO, the defendant, was a
Department of Defense civilian employee since approximately January 2011.
Beginning in approximately March 2018, she was the Executive Assistant to the
Commander for the United States Indo-Pacific Command (““INDOPACOM”) Joint

Intelligence Operation Center (“JIOC”). During that time, she maintained a “TOP
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SECRET” security clearance. The defendant has also held secure compartmented
information (“SCT”) access at various times since at least January 2011.

d. §Assomeone holding a “TOP SECRET” security clearance, the
defendant had been given multiple security briefings concerning the handling,
marking, storage, transportation, and restrictions regarding the disclosure of
information concerning the national defense or foreign relations of the United
States (“classified information”). All persons, before they obtain a high-level
security clearance, are required to sign certain forms affirming that they have been
instructed on the requirements for the proper handling of classified materials. The
defendant signed such forms on March 19, 2018, as part of her U.S. Government
INDOPACOM JIOC duties. By signing these certification documents, the
defendant acknowledged she understood her responsibilities regarding the
handling, transportation, and protection of classified information.

e. On January 4, 2020, the defendant was accepted for a six-month
Temporary Duty Assignment (“TDY”) to be the JIOC embedded employee to the
Armed Forces Philippines Office of the J2 in the Philippines. In that role, she was
assigned to work at Camp Aguinaldo and the U.S. Embassy Manila. The
defendant’s supervisor for the TDY was located at USINDOPACOM JIOC in

Honolulu, Hawaii, but the defendant also reported to the U.S. Embassy Manila
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Defense Attaché Office (DAO). Throughout this time, the defendant was also a
student of National Intelligence University (“NIU”) and was working on her thesis
project.

f. While in the Philippines, the defendant had access to the secure
compartmented information facility (“SCIF”) at the U.S. Embassy Manila to use
U.S. Government classified computers and to store classified documents. As part
of the defendant’s official duties, she attended classified meetings every
Wednesday at the U.S. Embassy Manila, had access to classified materials, and
had additional meetings during the week, as needed.

Unauthorized removal and retention of classified material in hotel room

g. On March 20, 2020, the defendant was working in the U.S.
Embassy Manila DAO SCIF. At the end of the day, the defendant removed
certain classified documents, which she had printed, from that secure location.

h. Later that same day, the defendant hosted a dinner party in her
hotel room. The guests included three Americans who also worked at the U.S.
Embassy Manila. Also present in the defendant’s hotel room that evening, were
two foreign nationals with whom the defendant had close and continuing contact.

i. During the dinner party, one of the American guests discovered

a stack of documents in the defendant’s bedroom with U.S. Government marked
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classified markings on them, including documents classified at the “SECRET”
level. When confronted, the defendant explained the documents were for her NIU
thesis. The defendant took no steps to return the classified documents to the U.S.
Embassy Manila DAO SCIF that night.

j. On March 22, 2020, one of the American dinner party guests
helped the defendant secure the previously mentioned classified documents in a
“SECRET” classified safe inside the U.S. Embassy Manila. The defendant said
she would return to the U.S. Embassy Manila the following day to retrieve the
classified documents and properly secure them in the DAO SCIF. As of March
24, 2020, the defendant had not returned to retrieve the classified documents.
Instead, the classified documents were returned to the DAO SCIF to be secured in
a “TOP SECRET” safe by others.

k. In late March 2020, the defendant’s TDY to Manila was
terminated due to the defendant’s mishandling of “SECRET” classified documents
on March 20, 2020, a violation of Department of State regulation 12 FAM

539.1(h).
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Unauthorized removal of classified notebook and transport to Hawaii

1, During her TDY at the U.S. Embassy Manila, the defendant
took handwritten notes in a notebook (“the Notebook”), which contained facts and
information classified at the “CONFIDENTIAL” and “SECRET” levels.

m. After the March 20, 2020 security incident, but prior to the
defendant’s departure from Manila at the end of the month, the defendant asked if
the U.S. Embassy Manila could mail some of her items back to Honolulu. The
defendant was told that the U.S. Embassy Manila could mail the items. The
defendant ultimately did not provide anything for the embassy to mail for her, and
the defendant herself never mailed any classified documents or notebooks securely
by diplomatic pouch from the U.S. Embassy Manila to INDOPACOM in Hawaii.

n. On or about March 28, 2020, the defendant, without
authorization, knowingly possessed and transported the Notebook containing
information classified at the “CONFIDENTIAL” and “SECRET” levels, from the
Philippines to Honolulu, Hawaii. The defendant then intentionally retained the
Notebook and the classified information it contained for a period of at least two
weeks at her personal residence. The defendant’s personal residence, as she well
knew, was not an authorized location for the storage of classified information.

At some point between April 13, 2020 and June 27, 2020, the defendant moved the
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Notebook to her new workspace located at the INDOPACOM JIOC building in
Honolulu, Hawaii.

0. On June 27, 2020, a Naval Criminal Investigative Service
(“NCIS”) Command Authorization for Search and Seizure Warrant was executed
at the defendant’s desk at the JIOC in Honolulu. During the covert search, the
Notebook was located in the defendant’s top desk drawer. “US DAO Manila C/O
Asia Lavarello” was handwritten on the first page. The Notebook contained
handwritten notes which included dates and titles of meetings. The Notebook was
copied and sent to U.S. Government Agency-1 for a classification review. After
copying, the Notebook was returned to the defendant’s top desk drawer. U.S.
Government Agency-1 conducted a classification review of the Notebook and
determined that it contained classified material at the “CONFIDENTIAL” and
“SECRET” levels.

Prior use of unsecured email to transmit classified information from the
Notebook

p. On January 16, 2020, the defendant used her personal Gmail
account to send an email titled “Notes Week of 13 Jan 2020” to her unclassified
U.S. Government Agency-1 email account. The email contained a section with
the header “US Embassy Pol/Mil Meeting — 15 Jan 2020.” The Notebook

contained a page similarly titled “USEMB Pol/Mil Meeting 1/15/2020.” The
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Notebook also contained nearly identical information as that written in the
defendant’s January 16 email.

q. U.S. Government Agency-1 conducted a classification review
of the January 16,2020 email. The agency determined the email section with the
header “US Embassy Pol/Mil Meeting — 15 Jan 2020” contained information with
an overall classification at the “SECRET” level. The FBI determined that the
defendant possessed the Notebook at an unauthorized location when she drafted
the January 16 email.

False statements to the Federal Bureau of Investigation

r. On January 22, 2021, the defendant agreed to a non-custodial
voluntary interview with the FBI and NCIS. At the beginning of the interview,
the FBI advised the defendant it was a crime to lie to a federal agent.

S. During the interview, the defendant named “Maria” as being
one of two foreign nationals who was present in her hotel room in Manila during
the dinner party on March 20, 2020. The FBI asked if the defendant had filed a
“contact report” for “Maria.” The defendant responded in the affirmative
knowing this was a false statement. In fact, the defendant never reported “Maria”
as a foreign contact as required. The FBI also asked the defendant if she had any

foreign contacts that she had not reported. The defendant responded in the

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negative knowing this too was a false statement. In fact, the defendant had close
and continuing contacts with two other foreign nationals while in the Philippines
whom she had not reported as required.

t. The FBI asked the defendant whether she had removed any
materials from the JIOC to work on her NIU thesis since her return from the
Philippines. The defendant responded “no, I think the experience [of having been
removed from her TDY position in the Philippines], definitely uh more aware,”
knowing this was a false statement. The FBI reminded the defendant of her
obligation to tell the truth to federal agents under 18 U.S.C. § 1001. Still, the
defendant maintained “J mean I’m not intending to lie to you, sorry if you feel that
I’m lying to you. I’m telling things as I remember them. Uhm but I think I don’t
want to answer any more questions.” In fact, between June 11 and June 15, 2020,
the defendant had not only printed a portion of her NIU thesis, removed it from the
JIOC, and worked on her NIU thesis from her home, but she also removed the
classification headers and footers from the document.

10. Pursuant to CrimLR 32.1(a) of the Local Rules of the United States
District Court for the District of Hawaii, the parties agree that the charge to which

the defendant is pleading guilty adequately reflects the seriousness of the actual

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offense behavior and that accepting this Agreement will not undermine the
statutory purposes of sentencing.
SENTENCING STIPULATIONS
11. Pursuant to CrimLR 32.1(b) of the Local Rules of the United States
District Court for the District of Hawaii and Section 6BI.4 of the Sentencing
Guidelines, the parties stipulate to the following for the purpose of the sentencing
of the defendant in connection with this matter:

a. As of the date of this agreement, it is expected that the
defendant will enter a plea of guilty prior to the commencement of trial, will
truthfully admit her involvement in the offense and related conduct, and will not
engage in conduct that is inconsistent with such acceptance of responsibility. If
all of these events occur, and the defendant’s acceptance of responsibility
continues through the date of sentencing, a downward adjustment of 2 levels for
acceptance of responsibility will be appropriate. See U.S.S.G. § 3E1.1(a) and
Application Note 3.

b. The United States Attorney agrees that the defendant’s
agreement herein to enter into a guilty plea constitutes notice of intent to plead
guilty in a timely manner, so as to permit the government to avoid preparing for

trial as to the defendant. Accordingly, the United States Attorney anticipates

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moving in the Government’s Sentencing Statement for a one-level reduction in
sentencing offense level pursuant to Guideline § 3E1.1(b)(2), if the defendant is
otherwise eligible. The defendant understands that notwithstanding its present
intentions, and still within the Agreement, the prosecution reserves the rights (1) to
argue to the contrary in the event of receipt of new information relating to those
issues, and (2) to call and examine witnesses on those issues in the event that either
the United States Probation Office finds to the contrary of the prosecution’s
intentions or the Court requests that evidence be presented on those issues.

or The parties agree that the defendant’s false statements to the
FBI, as detailed in paragraph 9, subparagraphs r — t, did not significantly obstruct
or impede the FBI’s investigation of the offenses committed by the defendant as to
qualify for the enhancement under Section 3C1.1 of the Sentencing Guidelines.

d. The parties agree that for purposes of calculating the base
offense level under Section 2M3.4 of the Sentencing Guidelines, the offenses
committed by the defendant did not involve top secret information.

12. The parties agree that notwithstanding the parties’ Agreement herein,
the Court is not bound by any stipulation entered into by the parties but may, with
the aid of the presentence report, determine the facts relevant to sentencing. The

parties understand that the Court’s rejection of any stipulation between the parties

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does not constitute a refusal to accept this Agreement since the Court is expressly
not bound by stipulations between the parties.
DISPUTED FACTS
13. Pursuant to Section 6B1.1 of the Sentencing Guidelines, the parties
identify the following facts that are in dispute for the purpose of sentencing of the
defendant in connection with this matter:

a. The parties have not reached an agreement regarding whether
the defendant abused a position of trust under Section 3B1.3 of the Sentencing
Guidelines for purposes of calculating the total offense level.

APPEAL/COLLATERAL REVIEW

14. The defendant is aware that she has the right to appeal her conviction
and the sentence imposed. The defendant knowingly and voluntarily waives the
right to appeal, except as indicated in subparagraph “b” below, her conviction and
any sentence within the Guidelines range as determined by the Court at the time of
sentencing, and any lawful restitution order imposed, or the manner in which the
sentence or restitution order was determined, on any ground whatsoever, in
exchange for the concessions made by the prosecution in this Agreement. The
defendant understands that this waiver includes the right to assert any and all

legally waivable claims.

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a. The defendant also waives the right to challenge her conviction
or sentence or the manner in which it was determined in any collateral attack,
including, but not limited to, a motion brought under Title 28, United States Code,
Section 2255, except that the defendant may make such a challenge (1) as
indicated in subparagraph “‘b” below, or (2) based on a claim of ineffective
assistance of counsel.

b. Ifthe Court imposes a sentence greater than specified in the
guideline range determined by the Court to be applicable to the defendant, the
defendant retains the right to appeal the portion of her sentence greater than
specified in that guideline range and the manner in which that portion was
determined and to challenge that portion of her sentence in a collateral attack.

c. The prosecution retains its right to appeal the sentence and the
manner in which it was determined on any of the grounds stated in Title 18, United
States Code, Section 3742(b).

FINANCIAL DISCLOSURE
15. In connection with the collection of restitution or other financial
obligations that may be imposed upon her, the defendant agrees as follows:

a. The defendant agrees to fully disclose all assets in which she

has any interest or over which she exercises control, directly or indirectly,

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including any assets held by a spouse, nominee, or third party. The defendant
understands that the United States Probation Office (USPO) will conduct a
presentence investigation that will require the defendant to complete a
comprehensive financial statement. To avoid the requirement of the defendant
completing financial statements for both the USPO and the government, the
defendant agrees to truthfully complete a financial statement provided to the
defendant by the United States Attorney’s Office. The defendant agrees to
complete the disclosure statement and provide it to the USPO within the time
frame required by the United States Probation officer assigned to the defendant’s
case. The defendant understands that the USPO will in turn provide a copy of the
completed financial statement to the United States Attorney’s Office. The
defendant agrees to provide written updates to both the USPO and the United
States Attorney’s Office regarding any material changes in circumstances, which
occur prior to sentencing, within seven days of the event giving rise to the changed
circumstances. The defendant’s failure to timely and accurately complete and
sign the financial statement, and any written update thereto, may, in addition to any
other penalty or remedy, constitute the defendant’s failure to accept responsibility

under U.S.S.G § 3E1.1.

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b. The defendant expressly authorizes the United States
Attorney’s Office to obtain her credit report. The defendant agrees to provide
waivers, consents, or releases requested by the United States Attorney’s Office to
access records to verify the financial information, such releases to be valid for a
period extending 90 days after the date of sentencing. The defendant also
authorizes the United States Attorney’s Office to inspect and copy all financial
documents and information held by the USPO.

c. Prior to sentencing, the defendant agrees to notify the Financial
Litigation Unit of the U.S. Attorney’s Office before making any transfer of an
interest in property with a value exceeding $1,000 owned directly or indirectly,
individually or jointly, by the defendant, including any interest held or owned
under any name, including trusts, partnerships, and corporations.

IMPOSITION OF SENTENCE
16. The defendant understands that the District Court in imposing

sentence will consider the provisions of the Sentencing Guidelines. The defendant
agrees that there is no promise or guarantee of the applicability or non-applicability
of any Guideline or any portion thereof, notwithstanding any representations or

predictions from any source.

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17. The defendant understands that this Agreement will not be accepted or
rejected by the Court until there has been an opportunity by the Court to consider a
presentence report, unless the Court decides that a presentence report is
unnecessary. The defendant understands that the Court will not accept an
agreement unless the Court determines that the remaining charge adequately
reflects the seriousness of the actual offense behavior and accepting the Agreement
will not undermine the statutory purposes of sentencing.

WAIVER OF TRIAL RIGHTS

18. The defendant understands that by pleading guilty she surrenders
certain rights, including the following:

a, If the defendant persisted in a plea of not guilty to the charges
against her, then she would have the right to a public and speedy trial. The trial
could be either a jury trial or a trial by a judge sitting without a jury. The
defendant has a right to a jury trial. However, in order that the trial be conducted
by the judge sitting without a jury, the defendant, the prosecution, and the judge all
must agree that the trial be conducted by the judge without a jury.

b. If the trial is a jury trial, the jury would be composed of twelve
laypersons selected at random. The defendant and her attorney would have a say

in who the jurors would be by removing prospective jurors for cause where actual

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bias or other disqualification is shown, or without cause by exercising peremptory
challenges. The jury would have to agree unanimously before it could return a
verdict of either guilty or not guilty. The jury would be instructed that the
defendant is presumed innocent, and that it could not convict her unless, after
hearing all the evidence, it was persuaded of her guilt beyond a reasonable doubt.

C. If the trial is held by a judge without a jury, the judge would
find the facts and determine, after hearing all the evidence, whether or not he or
she was persuaded of the defendant’s guilt beyond a reasonable doubt.

d. Atatrial, whether by a jury or a judge, the prosecution would
be required to present its witnesses and other evidence against the defendant. The
defendant would be able to confront those prosecution witnesses and her attorney
would be able to cross-examine them. In turn, the defendant could present
witnesses and other evidence on her own behalf. Ifthe witnesses for the
defendant would not appear voluntarily, the defendant could require their
attendance through the subpoena power of the Court.

€. At a trial, the defendant would have a privilege against
self-incrimination so that she could decline to testify, and no inference of guilt

could be drawn from her refusal to testify.

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19. The defendant understands that by pleading guilty, she is waiving all
of the rights set forth in the preceding paragraph. The defendant’s attorney has
explained those rights to her, and the consequences of the waiver of those rights.

USE OF PLEA STATEMENTS

20. If, after signing this Agreement, the defendant decides not to plead
guilty as provided herein, or if the defendant pleads guilty but subsequently makes
a motion before the Court to withdraw her guilty plea and the Court grants that
motion, the defendant agrees that any admission of guilt that she makes by signing
this Agreement or that she makes while pleading guilty as set forth in this
Agreement may be used against her in a subsequent trial if the defendant later
proceeds to trial. The defendant voluntarily, knowingly, and intelligently waives
any protection afforded by Rule 11(f) of the Federal Rules of Criminal Procedure
and Rule 410 of the Federal Rules of Evidence regarding the use of statements
made in this Agreement or during the course of pleading guilty when the guilty
plea is later withdrawn. The only exception to this paragraph is where the
defendant fully complies with this Agreement but the Court nonetheless rejects it.
Under those circumstances, the United States may not use those statements of the

defendant for any purpose.

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21. The defendant understands that the prosecution will apprise the Court
and the United States Probation Office of the nature, scope and extent of the
defendant’s conduct regarding the charges against her, related matters, and any
matters in aggravation or mitigation relevant to the issues involved in sentencing.

22. The defendant and her attorney acknowledge that, apart from any
written proffer agreements, if applicable, no threats, promises, agreements or
conditions have been entered into by the parties other than those set forth in this
Agreement, to induce the defendant to plead guilty. Apart from any written
proffer agreements, if applicable, this Agreement supersedes all prior promises,
agreements or conditions between the parties.

23. To become effective, this Agreement must be signed by all signatories
listed below.

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24. Should the Court refuse to accept this Agreement, it is null and void
and neither party shall be bound thereto.

DATED: Honolulu, Hawaii, Duly 14 _ deF/.

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AGREED:
JUDITH A. PHILIPS

Acting United States Attorney
District of Hawaii

DAV AW

 

 

 

MICHAEL NAMMAR IRNEY B. BERV
Chief, Criminal Division Attorney for Defendant

in Qiao varite
MOHAMMAD KHATIB ASIA JANAY LAVARELLO
Assistant U.S. Attorney Defendant

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